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J. THOMAS BARTLESON
                                                                          FILED
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                                                                           District Of Montana
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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                       HELENA DIVISION

 UNITED STATES OF AMERICA,              CR 19- 5 -H- C.C.L

            Plaintiff,                  INDICTMENT

      vs.                               POSSESSION WITH INTENT TO
                                        DISTRIBUTE METHAMPHETAMINE
                                        Title 21 U.S.C. § 84l(a)(l) (Count I)
 DONALD PAUL HARTIGAN,                  (Penalty: Mandatory minimum ten years to
                                        life imprisonment, $10,000,000 fine, and at
            Defendant.                  least five years supervised release.)

                                        POSSESSION WITH INTENT TO
                                        DISTRIBUTE HEROIN
                                        Title 21 U.S.C. § 841(a)(l) (Count II)
                                        (Penalty: Twenty years imprisonment,
                                        $1,000,000 fine, and at least three years
                                        supervised release.)

                                        TITLE 21 PENALTIES MAY BE
                                        ENHANCED FOR PRIOR DRUG-
                                        RELATED FELONY CONVICTIONS

THE GRAND JURY CHARGES:




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                                     COUNT!

      On or about November 2, 2018, at Helena, in Lewis and Clark County, in

the State and District of Montana, the defendant, DONALD PAUL HARTIGAN,

knowingly possessed, with the intent to distribute, 50 or more grams of actual

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §

841(a)(l).

                                    COUNT II

      On or about November 2, 2018, at Helena, in Lewis and Clark County, in

the State and District of Montana, the defendant, DONALD PAUL HARTIGAN,

knowingly possessed, with the intent to distribute, a substance containing a

detectable amount of heroin, a Schedule I controlled substance, in violation of21

U.S.C. § 841(a)(l).

      A TRUE BILL.


                                      FOREPERS



KURTG.ALME

                                                             Crim. Summons_ _
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